  Case 10-04119-TLM          Doc 59       Filed 01/09/12 Entered 01/09/12 15:45:05                  Desc
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                               UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF IDAHO


       In re: MANGIONE, LUIGI                                        §   Case No. 10-04119
              MANGIONE, LAURYE J                                     §
                                                                     §
   Debtor(s)                                                         §
         CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
  REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

          Jeremy Gugino, chapter 7 trustee, submits this Final Account,
Certification that the Estate has been Fully Administered and Application to be Discharged.

         1) All funds on hand have been distributed in accordance with the Trustee's Final Report
and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee's control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

        2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
discharged without payment, and expenses of administration is provided below:


 Assets Abandoned: $235,754.44                         Assets Exempt: $224,829.44
 (without deducting any secured claims)
 Total Distribution to Claimants: $11,774.87          Claims Discharged
                                                      Without Payment: $933,182.50

 Total Expenses of Administration: $2,173.46


         3) Total gross receipts of $ 14,169.83 (see Exhibit 1 ), minus funds paid to the debtor
and third parties of $     221.50 (see Exhibit 2 ), yielded net receipts of $13,948.33
from the liquidation of the property of the estate, which was distributed as follows:




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                                        CLAIMS             CLAIMS             CLAIMS             CLAIMS
                                      SCHEDULED           ASSERTED           ALLOWED              PAID


 SECURED CLAIMS
 (from Exhibit 3)                             $0.00         $19,649.64              $0.00             $0.00
 PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4 )                          0.00           2,173.46           2,173.46          2,173.46

   PRIOR CHAPTER
   ADMIN. FFES AND
   CHARGES (fromExhibit 5)                     0.00               0.00               0.00              0.00
   PRIORITY UNSECURED
   CLAIMS (fromExhibit 6 )                 6,382.00           6,657.65           6,657.65          6,657.65
 GENERAL UNSECURED
 CLAIMS (fromExhibit 7)                  935,844.08           9,634.80           9,634.80          5,117.22
                                        $942,226.08         $38,115.55        $18,465.91         $13,948.33
 TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 7 on December 23, 2010.
  The case was pending for 12 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 12/18/2011                 By: /s/Jeremy Gugino
                                                  Trustee


  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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                                                                EXHIBITS TO
                                                              FINAL ACCOUNT



EXHIBIT 1            GROSS RECEIPTS

                                                                                         UNIFORM                                $ AMOUNT
               DESCRIPTION
                                                                                        TRAN. CODE 1                            RECEIVED
     Chase Bank - Checking                                                              1129-000                                    15.00

     Employee Stock through Company                                                     1129-000                                 4,048.67

     2010 TAX REFUNDS                                                                   1224-000                                10,106.00

     Interest Income                                                                    1270-000                                     0.16


    TOTAL GROSS RECEIPTS                                                                                                        $14,169.83

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2            FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                         UNIFORM                                $ AMOUNT
        PAYEE                                     DESCRIPTION                           TRAN. CODE                                 PAID
 Luigi and Laurye Mangione                       Pro-rata tax refund                    8500-002                                    221.50

    TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                                           $221.50
    PARTIES

EXHIBIT 3            SECURED CLAIMS


                                                     UNIFORM          CLAIMS
       CLAIM                                                         SCHEDULED               CLAIMS               CLAIMS             CLAIMS
        NO.               CLAIMANT                    TRAN.           (from Form            ASSERTED             ALLOWED              PAID
                                                      CODE                6D)
           4     JP Morgan Chase Bank, NA             4210-000            N/A                  19,649.64                 0.00                 0.00


    TOTAL SECURED CLAIMS                                                        $0.00         $19,649.64               $0.00                 $0.00



EXHIBIT 4            CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                                     UNIFORM
        PAYEE                                                         CLAIMS                 CLAIMS               CLAIMS             CLAIMS
                                                      TRAN.
                                                                     SCHEDULED              ASSERTED             ALLOWED              PAID
                                                      CODE
 Jeremy Gugino                                        2100-000            N/A                    2,144.83            2,144.83           2,144.83

 Jeremy Gugino                                        2200-000            N/A                        14.30              14.30                14.30




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 The Bank of New York Mellon              2600-000          N/A                        14.33        14.33             14.33

 TOTAL CHAPTER 7 ADMIN. FEES                                N/A                   2,173.46      2,173.46           2,173.46
 AND CHARGES


EXHIBIT 5      PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                          UNIFORM
    PAYEE                                               CLAIMS               CLAIMS             CLAIMS         CLAIMS
                                           TRAN.
                                                       SCHEDULED            ASSERTED           ALLOWED          PAID
                                           CODE
                                                     None

 TOTAL PRIOR CHAPTER ADMIN.                                 N/A                        0.00         0.00               0.00
 FEES AND CHARGES


EXHIBIT 6      PRIORITY UNSECURED CLAIMS


                                          UNIFORM       CLAIMS               CLAIMS
   CLAIM                                               SCHEDULED            ASSERTED            CLAIMS         CLAIMS
    NO.              CLAIMANT              TRAN.        (from Form         (from Proofs of     ALLOWED          PAID
                                           CODE             6E)                 Claim)
       3P    Idaho State Tax Commission   5800-000           6,382.00             6,657.65       6,657.65          6,657.65

 TOTAL PRIORITY UNSECURED                                    6,382.00             6,657.65      6,657.65           6,657.65
 CLAIMS


EXHIBIT 7      GENERAL UNSECURED CLAIMS


                                          UNIFORM       CLAIMS               CLAIMS
   CLAIM             CLAIMANT              TRAN.       SCHEDULED            ASSERTED            CLAIMS         CLAIMS
    NO.                                                 (from Form         (from Proofs of     ALLOWED          PAID
                                           CODE             6F)                 Claim)
       1     American Express Bank, FSB   7100-000           6,000.00             5,063.09       5,063.09          2,781.18

       2     American Express Bank, FSB   7100-000          N/A                   2,367.12       2,367.12          1,300.27

       3U    Idaho State Tax Commission   7300-000          N/A                     319.00         319.00              0.00

       5     Recovery Management Systems 7100-000           N/A                     361.32         361.32            198.48
             Corp
       6     Recovery Management Systems 7100-000            1,179.16             1,524.27       1,524.27            837.29
             Corp
 NOTFILED    Peak Broadcasting           7100-000                 800.00         N/A                N/A                0.00

 NOTFILED    Norco, Inc.                  7100-000                 93.00         N/A                N/A                0.00

 NOTFILED    R.L. Schreiber Inc.          7100-000                156.61         N/A                N/A                0.00

 NOTFILED    Qwest                        7100-000                517.99         N/A                N/A                0.00

 NOTFILED    Midland Credit Management    7100-000          17,787.06            N/A                N/A                0.00

 NOTFILED    Howell & Vail                7100-000           4,648.43            N/A                N/A                0.00

 NOTFILED    Interstate Brands Corp.      7100-000                775.76         N/A                N/A                0.00

 NOTFILED    Idaho Statesman              7100-000           4,123.70            N/A                N/A                0.00




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 NOTFILED    Idaho Statesman              7100-000     27,779.17     N/A             N/A          0.00

 NOTFILED    Radiant Systems              7100-000        263.28     N/A             N/A          0.00

 NOTFILED    Intermountain Gas            7100-000        439.09     N/A             N/A          0.00

 NOTFILED    Idaho Power                  7100-000      1,465.71     N/A             N/A          0.00

 NOTFILED    Ron's Service Inc.           7100-000        105.90     N/A             N/A          0.00

 NOTFILED    W. H. Moore Company          7100-000     78,463.00     N/A             N/A          0.00

 NOTFILED    Total System Services        7100-000        425.97     N/A             N/A          0.00

 NOTFILED    West Asset Management        7100-000      2,367.12     N/A             N/A          0.00

 NOTFILED    Tablerock Printing           7100-000        318.00     N/A             N/A          0.00

 NOTFILED    Zee Medical, Inc.            7100-000         21.96     N/A             N/A          0.00

 NOTFILED    Sunset Signs & Graphics      7100-000      1,124.90     N/A             N/A          0.00

 NOTFILED    Sysco Idaho                  7100-000      1,630.53     N/A             N/A          0.00

 NOTFILED    High Tech Telephones         7100-000        526.66     N/A             N/A          0.00

 NOTFILED    ReStar, Inc.                 7100-000        300.00     N/A             N/A          0.00

 NOTFILED    Solution Pro                 7100-000         53.90     N/A             N/A          0.00

 NOTFILED    Real Signs                   7100-000      1,760.00     N/A             N/A          0.00

 NOTFILED    Steamco Ventilation          7100-000        195.00     N/A             N/A          0.00

 NOTFILED    Food Service of America      7100-000      1,538.74     N/A             N/A          0.00

 NOTFILED    Grasmick Produce             7100-000         74.33     N/A             N/A          0.00

 NOTFILED    Boise POS Solutions          7100-000      2,500.00     N/A             N/A          0.00

 NOTFILED    Boise Metro Chamber of       7100-000        460.00     N/A             N/A          0.00
             Commerce
 NOTFILED    Chase                        7100-000     19,312.02     N/A             N/A          0.00

 NOTFILED    Bank of America              7100-000      9,066.31     N/A             N/A          0.00

 NOTFILED    Chase                        7100-000     17,787.06     N/A             N/A          0.00

 NOTFILED    Alsco                        7100-000        233.85     N/A             N/A          0.00

 NOTFILED    CIT Small Business Lending   7100-000    599,873.87     N/A             N/A          0.00

 NOTFILED    Ada County Treasurer         7100-000      2,150.74     N/A             N/A          0.00

 NOTFILED    Citi                         7100-000     10,592.63     N/A             N/A          0.00

 NOTFILED    Franz Family Bakeries Oregon 7100-000         51.30     N/A             N/A          0.00
             Division
 NOTFILED    Financial Asset Management 7100-000        9,417.02     N/A             N/A          0.00

 NOTFILED    Express Service              7100-000        437.45     N/A             N/A          0.00

 NOTFILED    Evans Equipment              7100-000        682.48     N/A             N/A          0.00

 NOTFILED    Ford Motor Credit Co.        7100-000      4,648.43     N/A             N/A          0.00

 NOTFILED    Duro                         7100-000        100.00     N/A             N/A          0.00

 NOTFILED    Daymark Safety Systems       7100-000        111.49     N/A             N/A          0.00


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 NOTFILED    Crandall-Swenson            7100-000         381.79     N/A             N/A                0.00

 NOTFILED    Dickey's Barbeque Restaurant 7100-000    102,517.88     N/A             N/A                0.00

 NOTFILED    Directv                     7100-000         109.99     N/A             N/A                0.00

 NOTFILED    CMI Credit Mediators        7100-000         474.80     N/A             N/A                0.00

 TOTAL GENERAL UNSECURED                              935,844.08     9,634.80     9,634.80          5,117.22
 CLAIMS




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                                                                                                                                                                Exhibit 8


                                                                            Form 1                                                                              Page: 1

                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 10-04119                                                               Trustee:        (320100)     Jeremy Gugino
Case Name:         MANGIONE, LUIGI                                                  Filed (f) or Converted (c): 12/23/10 (f)
                   MANGIONE, LAURYE J                                               §341(a) Meeting Date:        01/27/11
Period Ending: 12/18/11                                                             Claims Bar Date:             03/28/11

                               1                                    2                          3                      4                5                   6

                    Asset Description                            Petition/            Estimated Net Value         Property        Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,   Abandoned        Received by      Administered (FA)/
                                                                  Values            Less Liens, Exemptions,      OA=§554(a)        the Estate       Gross Value of
Ref. #                                                                                  and Other Costs)         DA=§554(c)                        Remaining Assets

 1       Chase Bank - Checking                                           15.00                       15.00                                 15.00                    FA
           Orig. Asset Memo: Imported from original petition
         Doc# 28

 2       Household goods                                             2,000.00                         0.00          DA                      0.00                    FA
           Orig. Asset Memo: Imported from original petition
         Doc# 28

 3       CD's, DVDs, Misc. wall hangings                                500.00                        0.00          DA                      0.00                    FA
           Orig. Asset Memo: Imported from original petition
         Doc# 28

 4       Wearing Apparel                                                500.00                        0.00          DA                      0.00                    FA
           Orig. Asset Memo: Imported from original petition
         Doc# 28

 5       Wedding rings                                               1,000.00                         0.00          DA                      0.00                    FA
           Orig. Asset Memo: Imported from original petition
         Doc# 28

 6       Pistol                                                         450.00                        0.00          DA                      0.00                    FA
           Orig. Asset Memo: Imported from original petition
         Doc# 28

 7       TW Telecom 401(k) through Fidelity                        134,648.70                         0.00          DA                      0.00                    FA
           Orig. Asset Memo: Imported from original petition
         Doc# 28

 8       Roth IRA                                                   35,841.25                         0.00          DA                      0.00                    FA
           Orig. Asset Memo: Imported from original petition
         Doc# 28

 9       Retirement                                                 42,169.49                         0.00          DA                      0.00                    FA
           Orig. Asset Memo: Imported from original petition
         Doc# 28

10       Dickey's BBQ Pit Franchise Agreement, voided pur                 0.00                        0.00          DA                      0.00                    FA
           Orig. Asset Memo: Imported from original petition
         Doc# 28

11       Employee Stock through Company                              3,597.71                      3,597.71                             4,048.67                    FA
           atty used wild card exemption - ask Trustee about
         this.

12       2007 Dodge Pickup Truck 2500                               18,425.00                         0.00          DA                      0.00                    FA


                                                                                                                                 Printed: 12/18/2011 10:11 AM    V.12.57
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                                                                                    Form 1                                                                                    Page: 2

                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 10-04119                                                                       Trustee:         (320100)    Jeremy Gugino
Case Name:           MANGIONE, LUIGI                                                        Filed (f) or Converted (c): 12/23/10 (f)
                     MANGIONE, LAURYE J                                                     §341(a) Meeting Date:        01/27/11
Period Ending: 12/18/11                                                                     Claims Bar Date:             03/28/11

                                  1                                         2                          3                       4                    5                   6

                      Asset Description                              Petition/                Estimated Net Value          Property            Sale/Funds          Asset Fully
           (Scheduled And Unscheduled (u) Property)                Unscheduled           (Value Determined By Trustee,    Abandoned            Received by      Administered (FA)/
                                                                      Values                Less Liens, Exemptions,       OA=§554(a)            the Estate       Gross Value of
Ref. #                                                                                          and Other Costs)          DA=§554(c)                            Remaining Assets

            Orig. Asset Memo: Imported from original petition
           Doc# 28

13         Computer and Printer                                                 200.00                          0.00         DA                          0.00                     FA
            Orig. Asset Memo: Imported from original petition
           Doc# 28

14         2 Dogs                                                                20.00                          0.00         DA                          0.00                     FA
            Orig. Asset Memo: Imported from original petition
           Doc# 28

15         2010 TAX REFUNDS (u)                                             Unknown                        Unknown                                  10,106.00                     FA

 Int       INTEREST (u)                                                     Unknown                             N/A                                      0.16                     FA

 16       Assets         Totals (Excluding unknown values)            $239,367.15                          $3,612.71                               $14,169.83                  $0.00



       Major Activities Affecting Case Closing:

                    11/08/11 Amended TFR filed
                    06/02/11 Demanded tax returns

       Initial Projected Date Of Final Report (TFR):     January 27, 2012                     Current Projected Date Of Final Report (TFR):       November 8, 2011 (Actual)




                                                                                                                                              Printed: 12/18/2011 10:11 AM     V.12.57
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                                                                                  Form 2                                                                                          Page: 1

                                                       Cash Receipts And Disbursements Record
Case Number:           10-04119                                                                      Trustee:            Jeremy Gugino (320100)
Case Name:             MANGIONE, LUIGI                                                               Bank Name:          The Bank of New York Mellon
                       MANGIONE, LAURYE J                                                            Account:            9200-57371859-65 - Money Market Account
Taxpayer ID #:         XX-XXXXXXX                                                                    Blanket Bond:       $82,344,543.00 (per case limit)
Period Ending: 12/18/11                                                                              Separate Bond: N/A

    1            2                            3                                     4                                                5                     6                  7

 Trans.     {Ref #} /                                                                                                            Receipts         Disbursements          Money Market
  Date      Check #               Paid To / Received From            Description of Transaction                 T-Code              $                   $               Account Balance
04/04/11       {11}         Luigi Mangione                   sale of stock                                      1129-000              4,048.67                                    4,048.67
04/29/11         Int        The Bank of New York Mellon      Interest posting at 0.0100%                        1270-000                  0.02                                    4,048.69
05/31/11         Int        The Bank of New York Mellon      Interest posting at 0.0100%                        1270-000                  0.03                                    4,048.72
06/02/11       {15}         Idaho State Tax Commission       tax refund                                         1224-000              3,863.00                                    7,911.72
06/16/11       {15}         US Treasury                      tax refund                                         1224-000              6,243.00                                 14,154.72
06/18/11                    To Account #92005737185966                                                          9999-000                                       206.50          13,948.22
06/30/11         Int        The Bank of New York Mellon      Interest posting at 0.0100%                        1270-000                  0.07                                 13,948.29
07/13/11         Int        The Bank of New York Mellon      Current Interest Rate is 0.0100%                   1270-000                  0.04                                 13,948.33
07/13/11                    To Account #92005737185966                                                          9999-000                                   13,948.33                 0.00

                                                                                 ACCOUNT TOTALS                                      14,154.83             14,154.83                $0.00
                                                                                           Less: Bank Transfers                           0.00             14,154.83
                                                                                 Subtotal                                            14,154.83                   0.00
                                                                                           Less: Payments to Debtors                                             0.00
                                                                                 NET Receipts / Disbursements                      $14,154.83                   $0.00




{} Asset reference(s)                                                                                                                         Printed: 12/18/2011 10:11 AM         V.12.57
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                                                                                    Form 2                                                                                           Page: 2

                                                      Cash Receipts And Disbursements Record
Case Number:         10-04119                                                                         Trustee:            Jeremy Gugino (320100)
Case Name:           MANGIONE, LUIGI                                                                  Bank Name:          The Bank of New York Mellon
                     MANGIONE, LAURYE J                                                               Account:            9200-57371859-66 - Checking Account
Taxpayer ID #:       XX-XXXXXXX                                                                       Blanket Bond:       $82,344,543.00 (per case limit)
Period Ending: 12/18/11                                                                               Separate Bond: N/A

    1            2                          3                                         4                                               5                     6                    7

 Trans.     {Ref #} /                                                                                                             Receipts         Disbursements              Checking
  Date      Check #             Paid To / Received From            Description of Transaction                    T-Code              $                   $                 Account Balance
06/18/11                  From Account #92005737185965                                                           9999-000                 206.50                                      206.50
06/18/11       101        Luigi and Laurye Mangione        Debtors' pro-rata tax refund less $15.00                                                              206.50                 0.00
                                                           non-exempt bank account
                                                              Pro-rata tax refund                 221.50         8500-002                                                               0.00
               {1}                                                                                -15.00         1129-000                                                               0.00
07/13/11                  From Account #92005737185965                                                           9999-000             13,948.33                                   13,948.33
08/01/11                  The Bank of New York Mellon      Bank and Technology Services Fee                      2600-000                                         14.33           13,934.00
10/16/11       102        Idaho State Tax Commission       Dividend paid 100.00% on $6,657.65; Claim#            5800-000                                       6,657.65             7,276.35
                                                           3P; Filed: $6,657.65; Reference: 4123, 2848
10/16/11       103        American Express Bank, FSB       Dividend paid 54.93% on $5,063.09; Claim# 1;          7100-000                                       2,781.18             4,495.17
                                                           Filed: $5,063.09; Reference: 1004
10/16/11       104        American Express Bank, FSB       Dividend paid 54.93% on $2,367.12; Claim# 2;          7100-000                                       1,300.27             3,194.90
                                                           Filed: $2,367.12; Reference: 2008
10/16/11       105        Recovery Management Systems      Dividend paid 54.93% on $361.32; Claim# 5;            7100-000                                        198.48              2,996.42
                          Corp                             Filed: $361.32; Reference: 3353
10/16/11       106        Recovery Management Systems      Dividend paid 54.93% on $1,524.27; Claim# 6;          7100-000                                        837.29              2,159.13
                          Corp                             Filed: $1,524.27; Reference: 3068
10/16/11       107        Jeremy Gugino                    COMBINED CHECK FOR TRUSTEE                                                                           2,159.13                0.00
                                                           COMPENSATION, EXPENSES AND
                                                           INTEREST
                                                              Dividend paid 100.00%             2,144.83         2100-000                                                               0.00
                                                              on $2,144.83; Claim# ;
                                                              Filed: $2,144.83
                                                              Dividend paid 100.00%                   14.30      2200-000                                                               0.00
                                                              on $14.30; Claim# ;
                                                              Filed: $14.30

                                                                                    ACCOUNT TOTALS                                    14,154.83             14,154.83                  $0.00
                                                                                          Less: Bank Transfers                        14,154.83                    0.00
                                                                                    Subtotal                                                0.00            14,154.83
                                                                                          Less: Payments to Debtors                                                0.00
                                                                                    NET Receipts / Disbursements                           $0.00        $14,154.83




{} Asset reference(s)                                                                                                                          Printed: 12/18/2011 10:11 AM           V.12.57
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                                                                                                                                                                        Exhibit 9


                                                                           Form 2                                                                                       Page: 3

                                                     Cash Receipts And Disbursements Record
Case Number:         10-04119                                                               Trustee:            Jeremy Gugino (320100)
Case Name:           MANGIONE, LUIGI                                                        Bank Name:          The Bank of New York Mellon
                     MANGIONE, LAURYE J                                                     Account:            9200-57371859-66 - Checking Account
Taxpayer ID #:       XX-XXXXXXX                                                             Blanket Bond:       $82,344,543.00 (per case limit)
Period Ending: 12/18/11                                                                     Separate Bond: N/A

    1            2                          3                                4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                   Receipts         Disbursements           Checking
  Date      Check #             Paid To / Received From        Description of Transaction              T-Code              $                   $              Account Balance


                                                                                                                              Net              Net                   Account
                                                                           TOTAL - ALL ACCOUNTS                             Receipts      Disbursements              Balances

                                                                           MMA # 9200-57371859-65                           14,154.83                  0.00                0.00
                                                                           Checking # 9200-57371859-66                           0.00             14,154.83                0.00

                                                                                                                          $14,154.83          $14,154.83                  $0.00




{} Asset reference(s)                                                                                                                Printed: 12/18/2011 10:11 AM        V.12.57
